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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF OKLAHOMA

   RICHARD FELTZ and ASHTON DENNIS,                            )
   on behalf of themselves and all others                      )
   similarly situated,                                         )
                                                               )
         Plaintiffs,                                           )
                                                               )
   vs.                                                         )   Case No. 18-cv-00298-CVE-JFJ
                                                               )
   BOARD OF COUNTY COMMISSIONERS OF                            )
   THE COUNTY OF TULSA; et al.,                                )
                                                               )
         Defendants.                                           )

                               DEFENDANT STATE JUDGES’
                          NOTICE REGARDING SCHEDULING ORDER

           Pursuant to the Court’s ruling on March 26, 2021, Defendant State Judges hereby submit

   their suggestions regarding the scheduling of deadlines in this matter and advise the Court as

   follows:

           On March 31, 2021, all Defendants in this matter filed motions to dismiss the Second

   Amended Complaint. See Docs. 269, 270, 272 & 273. Under the standard briefing schedule for

   motions, briefing on these four motions will be complete by May 5, 2021. Plaintiffs have indicated

   that they would like additional time to respond to the motions and suggest filing their responses

   by May 5, 2021. Defendant State Judges have no objection to this request; however, all Defendants

   request an additional 7 days for filing their replies to the responses such that the reply deadline

   would be May 26, 2021.

           Because the motions to dismiss affect the scope of any proposed class by Plaintiffs and the

   briefing of class issues, Defendant State Judges propose that Plaintiffs’ motion for class

   certification be filed no later than fifteen (15) days after orders on the motions to dismiss are issued.

   As for a hearing on any motion for class certification, the scope of the hearing is relevant to any
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   scheduling. A hearing on argument only (as an evidentiary hearing is not always necessary, see 1

   McLaughlin on Class Actions § 3:13 (17th ed.)) could be scheduled after the briefing cycle is

   closed and before expert discovery closes unless Plaintiffs desire to use any expert report in support

   of their motion. Defendant State Judges do not believe an evidentiary hearing is necessary as the

   briefing should contain all the evidence needed for the Court to consider the appropriateness of

   class certification. Defendant State Judges further believe that expert testimony or reports are not

   necessary to determine the issues for class certification and would only potentially present their

   own expert (or report) if Plaintiffs present expert evidence. Therefore, Defendant State Judges

   believe that a hearing with argument only about the briefs and evidence contained therein is all

   that is necessary and can be scheduled after the briefing is complete and should not take more than

   a half day at most. However, Plaintiffs have indicated that they plan to use expert testimony in

   their motion for class certification; therefore, any briefing on class certification should be after

   expert discovery closes.

          As for the remaining expert discovery, Defendant State Judges believe it would be prudent

   to complete this discovery after rulings on the motions to dismiss are made as it will prevent the

   wasting of resources. By waiting, any expert reports will be tailored to comport with the claims

   allowed, if any. By proceeding with expert discovery at this time, reports may need to be modified

   or may be rendered superfluous depending on the Court’s rulings on the Motions. However,

   should Plaintiffs wish to proceed, Defendant State Judges believe that reports should be produced

   as follows: Plaintiffs’ expert reports should be produced 90 days after they receive the AOC data

   and any reports on expert disclosures by Defendants should be 90 days after Plaintiffs’ reports and

   disclosures. Expert discovery should then close 90 days after Defendants’ disclosures and reports

   are due so that the parties have sufficient time to schedule any expert depositions.
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          As for Daubert and dispositive motions, Defendant State Judges believe that any deadline

   for those motions should be 90 days after the expert discovery period closes.

          Defendant State Judges further believe any trial on the merits would be a bench trial.

   However, in the initial Joint Status Report to the Court, Plaintiffs requested a jury trial, Doc. 54.

   Plaintiffs have not withdrawn this request and it has not been briefed to the Court and decided.

   Defendant State Judges believe any scheduling of a trial is premature at this time such that all

   related deadlines for trial (i.e. witness and exhibit lists, deposition designations, etc.) and a trial

   setting should not be made.



   Dated April 15, 2021.                                  Respectfully submitted,

                                                          s/ Devan A. Pederson
                                                          STEFANIE E. LAWSON, OBA #22422
                                                          ERIN M. MOORE, OBA #20787
                                                          DEVAN A. PEDERSON, OBA # 16576
                                                          Assistant Attorneys General
                                                          Oklahoma Attorney General’s Office
                                                          Litigation Division
                                                          313 NE 21st Street
                                                          Oklahoma City, OK 73105
                                                          Telephone: (405) 521-3921
                                                          Facsimile:     (405) 521-4518
                                                          Email: stefanie.lawson@oag.ok.gov
                                                          erin.moore@oag.ok.gov
                                                          devan.pederson@oag.ok.gov
                                                          Attorneys for Defendant State Judges

                                    CERTIFICATE OF SERVICE

           I hereby certify that on this 15th day of April, 2021, I electronically transmitted the
   foregoing document to the Clerk of Court using the ECF System for filing and I further certify that
   on this date a true and correct copy of the foregoing was served on following who are ECF
   registrants:
    Kristina Saleh                                     Alexandria Twinem
    Hayley Horowitz                                    Ryan Downer
    Phoebe Kasdin                                      Civil Rights Corps
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   Still She Rises, Tulsa                      1601 Connecticut Ave. NW, Suite 800
   567 E. 36th Street North                    Washington, DC 20009
   Tulsa, OK 74106                             alexandria@civilrightscorps.org
   kristinas@stillsherises.org                 ryan@civilrightscorps.org
   hayleyh@stillsherises.org                   alexandria@civilrightscorps.org
   phoebek@stillsherises.org                   Attorneys for Plaintiff
   Attorneys for Plaintiff
   Allison Holt Ryan                           Vassi Iliadis
   Michelle Kisloff                            Hogan Lovells US LLP
   Gary Yeung                                  1999 Avenue or the Arts, Suite 1400
   Hogan Lovells US LLP                        Los Angeles, CA 90067
   555 Thirteenth Street, NW                   vassi.iliadis@hoganlovells.com
   Washington, DC 20004                        Attorney for Plaintiff
   allison.holt-ryan@hoganlovells.com
   michelle.kisloff@hoganlovells.com
   gary.yeung@hoganlovells.com
   Attorneys for Plaintiff

   Douglas Allen Wilson                        Jeb Joseph
   DA Office Tulsa-900                         Oklahoma Attorney General’s Office
   500 S Denver Ave Ste 900                    313 NE 21st Street
   Tulsa, OK 74103-3832                        Oklahoma City, OK 73105
   Attorney for Defendant Regaldo and          Jeb.Joseph@oag.ok.gov
   Board of County Comm of County of Tulsa     Attorney for Non-party Jari Askins

   Mike Shouse
   Tulsa County District Attorney’s Office
   218 W. 6th Street., Suite 935
   Tulsa, OK 74119
   mshouse@tulsacounty.org
   Attorney for Defendants Regalado and BOCC



                                                 s/ Devan A. Pederson
                                                 Devan A. Pederson
